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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                              CASE NO.: 1:04-CR-036-SPM

GEORGE BETHEA,

     Defendant.
________________________________/

                              ACCEPTANCE OF GUILTY PLEA

       PURSUANT TO the Report and Recommendation (doc. 24) of the United States

Magistrate Judge, to which there have been no timely objections, and subject to the

Court’s consideration of any plea agreement pursuant to Federal Rule of Criminal

Procedure 11(e)(2), the plea of guilty of the defendant, GEORGE BETHEA, to Count

One of the indictment is hereby ACCEPTED. All parties shall appear before this Court

for sentencing as directed.

       DONE AND ORDERED this tenth day of May, 2005.


                                     s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge

/pao
